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 7

 8                                   UNITED STATES BANKRUPTCY COURT

 9                 CENTRAL DISTRICT OF CALIFORNIA – SANTA BARBARA DIVISION

10

11   In re                                                  Case No. 9:17-bk-11363-DS
12   RAJYSAN, INC. dba MMD EQUIPMENT, a                     Chapter 11
     California corporation,
13                                                          STIPULATION BETWEEN DEBTOR,
                                                            DEBTOR’S INSIDERS, AND THE
14                                                          OFFICIAL COMMITTEE OF
                         Debtor and Debtor-in-Possession.   UNSECURED CREDITORS TO ASSIGN
15                                                          AND TOLL CLAIMS
16                                                          [No Hearing Needed Pursuant to Local
                                                            Bankruptcy Rule 9013-1(o)(1)]
17

18

19   TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY JUDGE,

20   THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

21            Debtor and debtor-in-possession Rajysan, Inc. dba MMD Equipment (“Debtor”), Amarjit

22   Sahani, Rajinder Sahani, Gurpreet Sahani, and the Official Committee of Unsecured Creditors of

23   Rajysan, Inc. dba MMD Equipment (“Committee”), (collectively “Parties”) by and through their

24   counsel of record, hereby move this Court for an order assigning and conferring standing upon the

25   Committee to prosecute claims and tolling claims of the Debtor’s bankruptcy estate (“Estate”) based

26   on the following facts:

27   ///

28   ///


                                                      -1-
                                   STIPULATION ASSIGNING AND TOLLING CLAIMS
     186729v1/1239-008
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 1                                                    Recitals
 2            A.       On July 29, 2017 (“Petition Date”), Debtor filed a voluntary petition for relief under
 3 Chapter 11 of Title 11 of the United States Code.

 4            B.       Prepetition, Debtor made one or more transfers to or for the benefit of Amarjit
 5 Sahani, Rajinder Sahani, Gurpreet Sahani (collectively, the “Insiders”). The Committee contends

 6 that the transfers can and should be avoided pursuant to 11 U.S.C. Sections 544-551 and under

 7 applicable state and federal law. The Committee believes Debtor may own additional claims against

 8 the Insiders. All potential claims owned by the Debtor against the Insiders shall be collectively

 9 referred to herein as the “Insider Claims”

10            C.       The Debtor’s attorney’s primary client contacts are the very Insiders that may be
11 liable for the Insider Claims. In order to avoid any conflict or appearance of impropriety, the Parties

12 have agreed to confer standing on the Committee to prosecute all claims for relief belonging to this

13 Estate against the Insiders.

14            D.       The Insiders have also agreed that all periods of limitation, repose, and laches, which
15 are or may be applicable to the Insider Claims shall be and are tolled and suspended as of the

16 Petition Date.

17            E.       Additionally, the Estate may have avoidance actions or other claims against non-
18 insiders (“Third-Party Claims”). The Parties have also agreed to confer standing on the Committee

19 to prosecute all Third-Party Claims owned by the Estate.

20                                                  Agreement
21            1.       Debtor stipulates that standing to prosecute the Insider Claims and the Third-Party
22 Claims (collectively, the “Subject Claims”) shall be conferred on the Committee. This grant of

23 standing includes the power to file, prosecute, settle, and collect any judgment obtained in actions

24 filed pursuant to this Stipulation.

25            2.       In prosecuting the Subject Claims, the Committee shall obtain Court authorization in
26 any circumstance where the Debtor would have been required to obtain such authorization (e.g. to

27 settle a claim).

28

                                                          2
                                     STIPULATION ASSIGNING AND TOLLING CLAIMS
     186729v1/1239-008
     4851-9579-5547, v. 1
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN DEBTOR, DEBTOR’S
INSIDERS, AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO ASSIGN AND TOLL CLAIMS will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 20, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) February 20, 2018, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 20, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via Personal Delivery
PRESIDING JUDGE’S COPY
Bankruptcy Judge Deborah J. Saltzman
United States Bankruptcy Court, Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1634 / Courtroom 1639
Los Angeles, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  February 20, 2018                   Chanel Mendoza                                           /s/ Chanel Mendoza
 Date                          Printed Name                                                    Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
4820-0772-2575, v. 1/1539-01
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Continued

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   U.S. TRUSTEE: United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov




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June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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DEBTOR                                           20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
RAJYSAN, INC.                                    ARMANINO, LLP                                           AVA LOGISTICS
4175 GUARDIAN STREET                             12657 ALCOSTA BOULEVARD                                 3495 LAKESIDE DR
SIMI VALLEY, CA 93063-3382                       #500                                                    SUITE 254
                                                 SAN RAMON, CA 94583-4406                                RENO, NV 89509-4841

20 LARGEST CREDITOR / POC                        20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
ADDRESS                                          C.H. ROBINSON WORLDWIDE, INC                            EPIC FREIGHT SOLUTIONS, LLC
AVA LOGISTICS LLC                                PO BOX 9121                                             ATTN: LISA JEDLICKA
C/O BRIAN SCHUSTERMAN                            MINNEAPOLIS, MN 55480-9121                              15901 HAWTHORNE BLVD, STE 490
MCDONALD CARANO LLP                                                                                      LAWNDALE, CA 90260-2656
PO BOX 2670
RENO, NV 89505-2670

20 LARGEST CREDITOR                              20 LARGEST CREDITOR / POC                               20 LARGEST CREDITOR
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ATTN: HELEN BLENNER HASSETT                      GUANGZHOU ZHAO QI TRADING CO.                           CO., LTD
PO BOX 405828                                    LTD                                                     RM.914 PROFIT PLAZA NO. 76
ATLANTA, GA 30384-5800                           BROWN & JOSEPH, LTD C/O DON                             WEST HUANG PU ROAD
                                                 LEVITON                                                 GUANGZHOU, CHINA
                                                 PO BOX 59838
                                                 SCHAUMBURG, IL 60159-0838

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GWO UEI METALS INDUSTRY CO.,                     HANKYU HASHIN EXPRESS(USA) INC                          HICKS PENSION SERVICES
LTD.                                             ATTN: NORIKO UEGO                                       3459 W. SHAW AVE.
ATTN: BEN HUANG                                  PO BOX 515438                                           FRESNO, CA 93711-3204
NO.15, CHI-SHING ST.                             LOS ANGELES, CA 90051-6738
HOW LII TAICHU HSIEN
TAIWAN, ROC

20 LARGEST CREDITOR                              20 LARGEST CREDITOR                                     20 LARGEST CREDITOR / POC
KIPOR POWER EQUIPMENT INC                        MGS INCORPORATED                                        ADDRESS
13009 SE JENNIFER ST., #105                      ATTN: ED BARNETT                                        MGS, INC.
CLACKAMAS, OR 97015-9076                         178 MUDDY CREEK CHURCH ROAD                             C/O ROBERT W. PONTZ, ESQ.
                                                 DENVER, PA 17517-9328                                   480 NEW HOLLAND AVENUE, SUITE
                                                                                                         6205
                                                                                                         LANCASTER, PA 17602-2227

20 LARGEST CREDITOR                              20 LARGEST CREDITOR / POC                               20 LARGEST CREDITOR
SOUTHWEST PRODUCTS CORP                          ADDRESS                                                 SUMITOMO MITSUI FINANCE &
ATTN: SHAD SCHAFER                               SOUTHWEST PRODUCTS                                      LEASING
P.O. BOX 5079                                    CORPORATION                                             ATTN: MR. H. YAMADA
VANCOUVER, WA 98668-5079                         ATTN: SHAD SCHAFER                                      JOSUIKAI BUILDING, 9TH FLOOR
                                                 805 BROADWAY ST. #700                                   HITOTSUBASHI 2-1-1
                                                 VANCOUVER WA 98660-3301                                 TOKYO, JAPAN

20 LARGEST CREDITOR                              20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
THERMOBILE INDUSTRIES BV                         THOMAS SALES COMPANY                                    TOP GUN FREIGHT, INC.
ATTN: MAURICE                                    ATTN: RON THOMAS                                        ATTN: TOMMY
KONIJNENBERG 80 4825 BD                          1412 CRESTWAY COURT                                     38740 SKY CANYON DR., #C
BREDA THE NETHERLANDS                            FALLSTON, MD 21047-1600                                 MURRIETA, CA 92563-2537


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June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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20 LARGEST CREDITOR                              20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
TOTAL QUALITY LOGISTICS, LLC                     TRINITY LOGISTICS, INC.                                 WELLS FARGO EQUIPMENT
P.O. BOX 634558                                  PO BOX 62702                                            FINANCE
CINCINNATI, OH 45263-4558                        BALTIMORE, MD 21264-2702                                300 TRI STATE INTERNATIONAL
                                                                                                         SUITE 400
                                                                                                         LINCOLNSHIRE, IL 60069-4417

20 LARGEST CREDITOR                              INTERESTED PARTY                                        INTERESTED PARTY
WELLS FARGO EQUIPMENT                            ADAM D.H. GRANT                                         HENRI R. SCHULLER
FINANCE                                          MICHELLE E. GOODMAN                                     JEFFREY S. SCHULLER
P.O. BOX 7777                                    ALPERT, BARR & GRANT                                    LAW OFFICES OF SCHULLER &
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                                                 ENCINO, CA 91316-1523                                   12307 VENTURA BLVD., STE. 200
                                                                                                         STUDIO CITY, CA 91604-2510

INTERESTED PARTY                                   INTERESTED PARTY                                    INTERESTED PARTY
MICHAEL A. GOLD                                    JOSEPH A. PERTEL                                    ADAM D.H. GRANT
JEFFER, MANGELS, BUTLER &                          THE LAW OFFICES OF JOSEPH A.                        MICHELLE E. GOODMAN
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7TH FLOOR                                          SANTA MONICA, CA 90401                              ENCINO, CA 91316-1523
LOS ANGELES, CA 90067

REQUEST FOR SPECIAL NOTICE
COMMONWEALTH OF
PENNSYLVANIA
COLLECTIONS SUPPORT UNIT
ATTN: DEB SECREST
651 BOAS STREET, ROOM 702
HARRISBURG, PA 17121




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